               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                              No. 4:20-CV-02078
PRESIDENT, INC., et al.,
                                                 (Judge Brann)
             Plaintiffs,

        v.

KATHY BOOCKVAR, et al.,

             Defendants.

                                      ORDER

        AND NOW, this 18th day of November 2020, IT IS HEREBY ORDERED

that:

        1.   The evidentiary hearing previously scheduled for Thursday,

             November 19, 2020 is CANCELLED.

        2.   Linda A. Kerns, Esquire’s motion for an order to show cause (Doc.

             131) is DENIED.

        3.   Plaintiffs will file any brief in opposition to Defendants’ motions to

             dismiss by 5 P.M. on November 18, 2020. Defendants may file any

             reply briefs by 12 P.M. on November 19, 2020.

        4.   Plaintiffs may file a new motion for preliminary injunction by 5 P.M.

             on November 18, 2020. Defendants may file any opposition briefs by

             5 P.M. on November 19, 2020. Plaintiffs may file any reply brief by

             12 P.M. on November 20, 2020.
5.   Plaintiffs may file a motion for leave to file a second amended

     complaint by 5 P.M. on November 18, 2020.

     a.    Defendants are not required to file any response to that motion

           for the time being.

                                       BY THE COURT:


                                       s/ Matthew W. Brann
                                       Matthew W. Brann
                                       United States District Judge




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